12-12020-mg   Doc 5451-8   Filed 10/23/13 Entered 10/23/13 13:52:54   Exhibit 8
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12-12020-mg   Doc 5451-8   Filed 10/23/13 Entered 10/23/13 13:52:54   Exhibit 8
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12-12020-mg   Doc 5451-8   Filed 10/23/13 Entered 10/23/13 13:52:54   Exhibit 8
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12-12020-mg   Doc 5451-8   Filed 10/23/13 Entered 10/23/13 13:52:54   Exhibit 8
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